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Attorneys for Plaintiff
Roger McIntosh
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
FRESNO DIVISION
ROGER MCINTOSH, Case No. 1:07-cv-01080-LJO-GSA
Plaintiff, JOINT STIPULATION TO CONTINUE
CASE MANAGEMENT CONFERENCE
v. AND [PROPOSED] ORDER
. CONTINUING CASE MANAGEMENT
NORTHERN CALIFORNIA UNIVERSAL CONFERENCE
ENTERPRISES COMPANY, et al.,
Defendants.

JOINT STIPULATION TO CONTINUE CASE MANAGEMENT CONFERENCE

This Joint Stipulation to Continue Case Management Conference is entered into between
Plaintiffs Roger McIntosh and Defendants Northern California Universal Enterprises, et al., by
and through their counsel of record, with reference to the following facts:

1. A Case Management Conference is currently calendared for March 3, 2008, at 8:30
a.m.

2. On February 21, 2008, Plaintiff McIntosh obtained new counsel to represent him in
this matter. A motion to substitute James Braze, of Borton Petrini, LLP, as McIntosh’s counsel of
record has been filed along with this Motion to Continue.

3. Mr. Braze has not had an opportunity to meet and confer with defense counsel and
therefore requests that the case management conference be continued for a month so that counsel

have an opportunity to meet and confer, and prepare the joint case management statement.

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4, The parties propose the following revised case management schedule and
deadlines:
4/7/08 Last day to meet and confer
4/14/08 Last day to file Case Management Statement
4/21/08 Case Management Conference

IT IS THEREFORE STIPULATED that, subject to the approval of the Court, the Case
Management Conference currently calendared for March 3, 2008, should be continued to April 21,

2008, with all deadlines relating to the Case Management Conference continued accordingly.

Dated: February 22, 2008 Respectfully submitted,

Plaintiff
Roger McIntosh

By his attorneys,

isf

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Defendants,
Northern California Universal Enterprises, et al

Dated: February 22, 2008
By its attorneys,

fs/

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[PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE

For good cause shown in the Joint Stipulation to Continue Case Management Conference,
PURSUANT TO STIPULATION, IT IS SO ORDERED that the Case Management Conference
currently calendared for March 3, 2008, is continued to April 21, 2008, with all deadlines relating

to the Case Management Conference continued accordingly.

Dated:

HON. Lawrence J. O’Neill

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